Case 2:05-CV-02101-SHI\/|-tmp Document 8 Filed 06/03/05 Page 1 of 2 Page|D 21

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 05 JUN -.3 PH 12- 02
W'ESTERN DIVISION

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cHARLEs E. DAVIS,

Plaintiff,

v_ Cv. No. 05-2101-Ma

THE C.P. HALL COMPANY,

Defendant.
J'UDGMENT
Decision. by' Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND AD\TUDGED that thiS action iS dismiSSed
with prejudice in accordance With the Order of Dismissal,
docketed June 1, 2005. Each party shall bear its own costs and
attorney’s fees.

APPROVED '

`W(/wc_

SAMUEL H. MAYS, JR.
U`NITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02101 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Jimmy Moore

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Honorable Samuel Mays
US DISTRICT COURT

